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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

JUSTIN HOOPER,
Plaintiff Appellant,
VS.

Case No. 21-CV-165-WP]-JF]

CITY OF TULSA,

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Defendant/Appellee.

DEFENDANT CITY OF TULSA’S RESPONSE TO
THIS COURT’S ORDER DIRECTING THE CITY TO ADDRESS
THIS COURT’S ONGOING JURISDICTION [DOC NO. 49]

On November 28, 2023, this Court entered an Order conditionally granting the Muscogee
Creek Nation’s Motion For Leave to Participate as Amicus Curiae. [Doc. No. 49] In that Order
this Court also stated “the Court will hear first from the City of Tulsa why this case should not be
dismissed without prejudice for lack of jurisdiction.” While the City will be ready to address this
at the upcoming status conference, in addition, the City provides the following written response:

PROCEDURAL HISTORY

On May 5, 2021, the Plaintiff, Justin Hooper filed the present action asking for an order
declaring that the City of Tulsa does not have jurisdiction to enforce its ordinances against
members of Indian tribes when violations of those ordinances occur within the boundaries of an
Indian reservation, as it is exists in the wake of McGirt v. Oklahoma, 591 U.S. ---, 140 S.Ct. 2452
(2022) (“McGirt’). The Plaintiff also postured this case as an appeal of his speeding ticket issued
in Tulsa Municipal Court.

The City of Tulsa filed a motion to dismiss on the grounds that the Curtis Act of 1898
provided jurisdiction to the City to enforce its municipal ordinances against all inhabitants. This

Court, in an Order dated April 13, 2022, granted the City’s motion and the Plaintiff appealed to
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the Tenth Circuit. While the parties were briefing the issues before the Tenth Circuit, the United
States Supreme Court issued its opinion in Oklahoma y. Castro-Huerta, 597 U.S. ---, 142 8. Ct.
2486, 213 L.Ed.2d 847 (2022) (“Castro-Huerta’). Castro-Huerta fundamentally changed the
understanding of state jurisdiction over reservation areas, finding that that “the default is that States
may exercise criminal jurisdiction within their territory.” Jd at 2503. The Supreme Court held
that State jurisdiction in Indian country can only be preempted: “4) by federal law under ordinary
principles of federal preemption, or 11) when the exercise of state jurisdiction would unlawfully
infringe on tribal self-government.” Jd. at 2494.

Because Castro-Huerta was not decided when this Court initially addressed the issues in
this case, the parties did not have the opportunity to brief the Supreme Court’s opinion and its
effect on the City’s jurisdiction over violations of municipal ordinances on Indian land.

The Tenth Circuit issued its decision in the Hooper case on June 28, 2023, finding the City
previously had jurisdiction over Indians on Indian Country under the Curtis Act, but lost such
jurisdiction once the City incorporated under the State of Oklahoma’s constitution and laws.
Hooper v. City of Tulsa, 71 F.4® 1270, 1285 (10 Cir. 2023) (the “Hooper Decision”). The Circuit
court specifically reversed “the district court’s grant of Tulsa’s Rule 12(b)(6) motion to dismiss
Mr. Hooper’s claim for declaratory judgment, VACATE[D] the district court’s dismissal of Mr.
Hooper's appeal as moot, DIRECT[ED] the district court to dismiss Mr. Hooper’s appeal without
prejudice for lack of jurisdiction, and REMAND[ED] for proceedings consistent with this
opinion.” Jd. at 1288-1289.

The City of Tulsa filed an Emergency Application to the United States Supreme Court
asking for a stay of the Tenth Circuit’s mandate. On August 4, 2023, the Supreme Court denied

the stay, but Justices Kavanagh and Alito issued a statement on the matter specifically stating that
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“The City of Tulsa’s application for a stay raises an important question: whether the City may
enforce its municipal laws against American Indians in Tulsa. For example, may Indians in Tulsa
violate the City’s traffic safety laws without enforcement by the City?” The Justices observed that
the City’s application for a stay arose in an “interlocutory posture,” and further stated:

Importantly, the Court of Appeals declined for now to reach an

additional argument raised by the State of Oklahoma as amicus

curiae: that the City may exercise jurisdiction under the reasoning

in Oklahoma v. Castro-Huerta, 597 U.S._ (2022). On remand in the

District Court, the City may presumably raise that argument.

Moreover, as I understand it, nothing in the decision of the Court of

Appeals prohibits the City from continuing to enforce its municipal

laws against all persons, including Indians, as the litigation

progresses.

[Exhibit A — Statement of Justices Kavanagh and Alito]

This case has now been remanded back to this Court for further proceedings. A status
conference is scheduled to take place on Monday, December 4, 2023. In advance of that status
conference the Muscogee Creek Nation asked to participate as amicus curiae. None of the parties
objected. In this Court’s Order conditionally granting the tribe’s motion, this Court asked the City
to address whether the Court has jurisdiction to proceed with this matter which prompted the City
to file the present response.

ARGUMENT AND AUTHORITIES
This Court Has Jurisdiction To Continue To Hear This Matter

This case has been remanded back to this court for further proceedings consistent with the
Tenth Circuit’s Order. Importantly, while the Circuit Court’s Order gave specific instructions to
this court to dismiss the Plaintiffs appeal, no such instruction was given on the declaratory

judgment claim. Instead, the Court specifically remanded the matter for additional “proceedings”

consistent with the Opinion. The case and controversy in this matter remains the same as it did
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before the Tenth Circuit’s Order — whether the City of Tulsa has jurisdiction to prosecute Indian
offenders for violations of municipal ordinances conducted on Indian land.

Since the parties were last before this court there has been a major shift in federal Indian
law by the United States Supreme Court in its Castro-Huerta decision. This City’s position 1s that
the principles outlined in this decision provide the City with concurrent jurisdiction, separate and
apart from the Curtis Act, to enforce its municipal ordinances. As Justices Kavanagh and Alito
noted, the City should be able to brief to this court this new case law in order for the court to render
a valid, final decision on the Plaintiff's request for declaratory judgment.

The tribes are well aware that the City has taken the position that the Castro-Huerta

decision provides the State, and thus the City, concurrent jurisdiction to enforce its laws and

ordinances and therefore, there is still a very significant case or controversy at issue. This legal

argument has been, and is currently, raised in various other cases before the Oklahoma Court of

Criminal Appeals. In fact, in a concurring decision issued by the Presiding Judge of the Oklahoma
Court of Cnminal Appeals, Judge Rowland stated:

Until recently, it was settled law that the State of Oklahoma lacked
jurisdiction to prosecute crimes committed by or against Indians in
Indian Country. ... But that analysis has become more complicated
after the U.S. Supreme Court’s decision in Oklahoma y. Castro-
Huerta where the majority held that 18 U.S.C. § 1152, known as the
General Crimes Act, does not preempt Oklahoma’s jurisdiction over
non-Indians who commit crimes on a reservation. .... Although
Castro-Huerta involved a non-Indian, the Supreme Court made
clear that the text of this statute would not preempt state jurisdiction
against an Indian in similar circumstances ..... Thus, under the
General Crimes Act, courts must now apply the so-called Bracker
balancing test to determine if state jurisdiction is preempted in cases
of crimes committed by Indians in Indian Country.

State v. Hon. Terrell Crosson, --- P.3d ---, 2023 OK CR 18, 4 3 (P.J. Rowland concurring) (internal

citations and quotations omitted) (emphasis added)(Opinion Attached herewith as Exhibit B). In
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addition to the Crosson opinion, the Court of Cnminal Appeals has stated, “Because the State has
jurisdiction to prosecute crimes committed in Indian country unless state jurisdiction 1s preempted,
Castro-Huerta leaves unresolved whether the State’s jurisdiction to prosecute Indians for crimes
under the General Crimes Act in Indian country is preempted.” State v. Brester, 531 P.3d 125,
137-38, 2023 OK CR 10, § 36, 531 P.3d 125, 137-38 (internal quotations and citations omitted;
emphasis added). Thus, Oklahoma’s highest criminal court has found that State jurisdiction over
Indians in Indian Country after Castro-Huerta remains an unanswered question.

Additionally, at least one State of Oklahoma District Court has ruled that the State does
maintain jurisdiction over crimes committed by Indians within the Muscogee Creek Nation’s
reservation boundaries. State v. Long, District Ct. McIntosh Co., Okla., CF-23-86, Order on
Jurisdictional Issues Raised by Def., filed October 4, 2023 (attached as Exhibit C). In Long, after
applying the Castro-Huerta analysis and the Bracker balancing test, “the Court [found there is a]
presumption of the State’s ability to enforce its laws. With this presumption in mind, the Court
finds subject matter jurisdiction exists for the State to prosecute the Defendant for violating State
laws ....” /d. at *9. The criminal laws to which the Indian defendant had previously pled in Long
included a felony charge of bringing contraband into a penal institution and misdemeanor trespass.
Id. That case is currently on appeal to the Oklahoma Court of Criminal Appeals. Okla. Crim. App.
Case No. RE-2023-884, filed Nov. 1, 2023. Thus, in the Oklahoma State court system, there is at
least a question of whether or not the State, and therefore the City of Tulsa, may exercise
jurisdiction over Indians within reservation boundaries under Castro-Huerta.

“The Constitution gives federal courts the power to adjudicate only genuine Cases and
Controversies.” Robert y. Austin, 72 F.4th 1160, 1163 (10th Cir. 2023), quoting Kerr v. Polis, 20

F.4th 686, 692 (10th Cir. 2021) (en banc) (cleaned up). “This case-or-controversy requirement

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subsists through all stages of federal judicial proceedings ... [and] requires a party seeking relief
to have suffered, or be threatened with, an actual injury traceable to the appellee and likely to be
tedressed by a favorable judicial decision by the appeals court.” Jd. (internal quotations and
citations omitted).

The case and controversy in this matter remains the same as it did the first time the parties
presented briefing on the issues. Although the Tenth Circuit has weighed in on the jurisdictional
arguments under the Curtis Act,! what remains for this Court to decide is whether the Plaintiff is
entitled to declaratory relief finding that the City cannot enforce violation of its ordinances against
tribal members on a reservation in light of the recent Castro-Huerta decision.

CONCLUSION

This court should not dismiss this matter for lack of jurisdiction. The case and controversy
remain the same as they did before the Tenth Circuit’s decision. As Justices Alito and Kavanaugh
stated, the parties should be able.to brief the substantial change in the understanding of the law
since this matter was last before this court and its impact on the Plaintiff's request for declaratory

judgment.

‘ The City of Tulsa intends to appeal the Tenth Circuit's decision on the Curtis Act to the United States Supreme
Court once a valid, final, and appealable judgment is entered in this matter.
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Respectfully submitted,

CITY OF TULSA, OKLAHOMA
a municipal corporation

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CERTIFICATE OF SERVICE

| hereby certify that on the 1st day of December, 2023, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants (names only are sufficient):

John Dunn

Riyaz A. Kanji

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/s/Kristina L. Gray
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